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                     IN THE UNITED STATES DISTRICT COURT

                   FOR THE WESTERN DISTRICT OF WISCONSIN

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UNITED STATES OF AMERICA,
                                                                ORDER
                            Plaintiff,
                                                                06-CR-0126-C
              v.

GERARDO VALTIERRA,

                            Defendant.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

       Defendant Gerardo Valtierra has filed a motion to compel production of records and

a motion to unseal the objections to the presentence report. Both motions will be denied.

Defendant is appealing his conviction; his privately retained attorney is representing him on

appeal; and the appeal is pending.

       Defendant has asked the court to order his attorney to turn over to him all of the

discovery material and related documents. So long as defendant continues to be represented

by counsel and his case is on appeal, this court has no authority to grant him the relief he

requests. Counsel’s obligation to give defendant a competent representation on appeal

justifies his retention of the relevant documents until the appeal has been resolved.

       I note that in support of his motion to unseal the presentence objections, defendant


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says that he never had an opportunity to review or rebut any of the objections to the report

raised by the Assistant United States Attorney. The record shows that a copy of the

government’s objections was served on defendant’s attorney; nothing in the record suggests

that counsel did not have these objections in advance of defendant’s sentencing.

       At the end of his motion for production, defendant adds a request that this court

grant him additional time to supplement his appeal. This is not a request that this court can

grant; only the court of appeals has authority to decide whether to allow a defendant to file

a supplementation of his attorney’s appellate filings.




                                          ORDER

       IT IS ORDERED that defendant Gerardo Valtierra’s motions to compel production

of documents and to unseal the objections to the presentence report are DENIED.

       Entered this 3d day of October, 2007.

                                          BY THE COURT:
                                          /s/
                                          BARBARA B. CRABB
                                          District Judge




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